          Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 1 of 22




1    ROBERT E. DUNN (Bar No. 275600)
     EIMER STAHL LLP
2    99 S. Almaden Blvd, Suite 600
     San Jose, CA 95113
3
     408.889.1690
4    rdunn@EimerStahl.com

5    MEGAN L. BROWN (pro hac vice pending)
     KATHLEEN E. SCOTT (pro hac vice pending)
6    BOYD GARRIOTT (pro hac vice pending)
7    WILEY REIN LLP
     2050 M St NW
8    Washington, DC 20036
     202.719.7000
9    mbrown@wiley.law
     kscott@wiley.law
10   bgarriott@wiley.law
11
     Attorneys for Amicus Curiae,
12   Chamber of Commerce of the United States of America

13
                               UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
15

16   NETCHOICE, LLC d/b/a NetChoice,                       Case No. 5:22-cv-08861-BLF

17                              Plaintiff,                 BRIEF OF THE CHAMBER OF
                                                           COMMERCE OF THE UNITED
18                                                         STATES OF AMERICA AS AMICUS
     v.                                                    CURIAE IN SUPPORT OF
19
                                                           PLAINTIFF’S MOTION FOR
20                                                         PRELIMINARY INJUNCTION
     ROB BONTA, ATTORNEY GENERAL OF THE
21   STATE OF CALIFORNIA, in his official capacity,        Judge: Honorable Beth Labson Freeman
22                              Defendant.
23

24

25

26

27

28

     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
          Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 2 of 22




1                                                         TABLE OF CONTENTS

2     TABLE OF AUTHORITIES .................................................................................................. ii
3     INTEREST OF AMICUS CURIAE ........................................................................................1
4     INTRODUCTION ...................................................................................................................2
5     ARGUMENT ...........................................................................................................................3
6              I.        Congress Expressly Preempted State Laws That Regulate Children’s Privacy
                         Differently Than COPPA. ..................................................................................3
7
               II.       COPPA Expressly Preempts AB 2273 Because AB 2273 Is Inconsistent With
8                        COPPA. ..............................................................................................................9
9                        A.         AB 2273’s “Likely-To-Be-Accessed” Standard Is Inconsistent With
                                    COPPA. ..................................................................................................9
10
                         B.         AB 2273’s Age Trigger Is Inconsistent With COPPA. .......................11
11
                         C.         AB 2273’s Compliance Obligations Are Inconsistent With COPPA. .12
12
               III.      AB 2273 Is Preempted In Its Entirety Because Its Inconsistent Provisions Are
13                       Not Severable. ..................................................................................................14
14    CONCLUSION ......................................................................................................................15
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  i
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
          Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 3 of 22




1                                                     TABLE OF AUTHORITIES

2                                                                                                                                       Page(s)
3     Cases
4     ACLU v. Johnson,
        194 F.3d 1149 (10th Cir. 1999) .................................................................................................6
5

6     Acosta v. City of Costa Mesa,
        718 F.3d 800 (9th Cir. 2013) ...................................................................................................14
7
      Am. Librs. Ass’n v. Pataki,
8       969 F. Supp. 160 (S.D.N.Y. 1997).............................................................................................6
9     Arellano v. Clark Cnty. Collection Serv., LLC,
        875 F.3d 1213 (9th Cir. 2017) ...................................................................................................6
10

11    Atay v. Cnty. of Maui,
        842 F.3d 688 (9th Cir. 2016) .....................................................................................................4
12
      Aylward v. SelectHealth, Inc.,
13      35 F.4th 673 (9th Cir. 2022) ......................................................................................................3

14    New Mexico ex rel. Balderas v. Tiny Lab Prods.,
        457 F. Supp. 3d 1103 (D.N.M. 2020) ........................................................................................7
15
      CSX Transp., Inc. v. Easterwood,
16
        507 U.S. 658 (1993) ...................................................................................................................4
17
      Fraley v. Facebook, Inc.,
18      966 F. Supp. 2d 939 (N.D. Cal. 2013) .....................................................................................11

19    Garcia v. City of Los Angeles,
        11 F.4th 1113 (9th Cir. 2021) ..................................................................................................14
20
      H.K. through Farwell v. Google LLC,
21      595 F. Supp. 3d 702 (C.D. Ill. 2022) .........................................................................................7
22
      Hotel Emps. & Rest. Emps. Int’l Union v. Davis,
23      21 Cal.4th 585 (1999) ..............................................................................................................14

24    Hubbard v. Google LLC,
        508 F. Supp. 3d 623 (N.D. Cal. 2020) .......................................................................................7
25
      Jevne v. Superior Ct.,
26      35 Cal. 4th 935 (2005) .......................................................................................................14, 15
27
      Jones v. Google LLC,
28      56 F.4th 735 (9th Cir. 2022) ......................................................................................................7

                                                  ii
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
          Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 4 of 22




1     Manigault-Johnson v. Google, LLC,
       No. 18-cv-1032, 2019 WL 3006646 (D.S.C. Mar. 31, 2019) ....................................................7
2
      Mont v. United States,
3      139 S. Ct. 1826 (2019) .............................................................................................................12
4
      Nat’l R.R. Passenger Corp. v. Su,
5       41 F.4th 1147 (9th Cir. 2022) ....................................................................................................3

6     Qwest Commc’ns Inc. v. City of Berkeley,
       433 F.3d 1253 (9th Cir. 2006) .................................................................................................14
7
      Santa Barbara Sch. Dist. v. Superior Ct.,
8       13 Cal. 3d 315 (1975) ..............................................................................................................15
9     Constitution, Statutes, and Regulations
10
      U.S. Const. art. VI, cl. 2 .................................................................................................................3
11
      Children’s Online Privacy Protection Act, Pub. L. No. 105-277,
12      112 Stat. 2681 (1998) (codified at 15 U.S.C. §§ 6501–06) .......................................................2

13             § 6501.................................................................................................................9, 10, 11, 12
14             § 6502......................................................................................................................... passim
15             § 6503...............................................................................................................................5, 6
16
               § 6504...................................................................................................................................5
17
               § 6505...................................................................................................................................4
18
      Cal. Civ. Code
19
               § 1798.99.29.................................................................................................................10, 14
20
               § 1798.99.30...........................................................................................................10, 11, 15
21
               § 1798.99.31.................................................................................................................12, 13
22
      16 C.F.R. § 312.2 .....................................................................................................................9, 10
23

24    16 C.F.R. §§ 312.4–312.6 ............................................................................................................12

25    Legislative Materials

26    144 Cong. Rec. S11657 (Oct. 7, 1998) .............................................................................5, 12, 13

27    144 Cong. Rec. S11658 (Oct. 7, 1998) ..........................................................................................5
28    144 Cong. Rec. S8483 (July 17, 1998) ..........................................................................................5

                                                  iii
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
          Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 5 of 22




1     S. 2326, Children’s Online Privacy Protection Act of 1998: Hearing Before the
         Subcomm. on Commerce, Sci., and Transp., 105th Cong. (1998) .............................4, 6, 11, 12
2
      S. 2326, 105th Cong. (1998) ..........................................................................................4, 9, 11, 12
3
      S. 1628, 117th Cong. (2021) ..........................................................................................................9
4

5     S. 2918, 117th Cong. (2021) ..........................................................................................................9

6     S. 3663, 117th Cong. (2022) ..........................................................................................................9

7     S. 395, 118th Cong. (2023) ............................................................................................................8

8     H.R. 5439, 117th Cong. (2021) ......................................................................................................9
9     H.R. 5630, 117th Cong. (2021) ......................................................................................................8
10    H.R. 6056, 117th Cong. (2021) ......................................................................................................8
11    78 Fed. Reg. 3,971 (Jan. 17, 2013) ................................................................................................7
12
      84 Fed. Reg. 35,842 (July 25, 2019) ..........................................................................................7, 8
13
      87 Fed. Reg. 74,056 (Dec. 2, 2022) ...............................................................................................8
14
      Other Authorities
15
      Amicus Br. of FTC, Fraley v. Batman, No. 13-16819 (9th Cir. Mar. 20, 2014) .........................11
16
      Children’s Privacy,
17      FTC, https://www.ftc.gov/business-guidance/privacy-security
18      (last visited Feb. 24, 2023).........................................................................................................8

19    COPPA Safe Harbor Program,
        FTC, https://www.ftc.gov/enforcement/coppa-safe-harbor-program
20      (last visited Feb. 24, 2023).........................................................................................................8

21    FTC Takes Action Against Company Formerly Known as Weight Watchers for
        Illegally Collecting Kids’ Sensitive Health Data (Mar. 4, 2022),
22      https://www.ftc.gov/news-events/news/press-releases/2022/03/ftc-takes-action-
23      against-company-formerly-known-weight-watchers-illegally-collecting-kids-
        sensitive......................................................................................................................................8
24
      Ariel Fox Johnson, 13 Going On 30: An Exploration of Expanding COPPA’s
25      Privacy Protections To Everyone, 44 Seton Hall Legis. J. 419 (2020) .....................................8
26    Notice, FTC Seeks Additional Public Comment on Advertising to Kids in Digital
        Media (Aug. 23, 2022), https://downloads.regulations.gov/FTC-2022-0054-
27      0001/content.pdf ........................................................................................................................8
28

                                                  iv
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
         Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 6 of 22




1     Statement of the Federal Trade Commission on Education Technology and the
        Children’s Online Privacy Protection Act (May 19, 2022),
2       https://www.ftc.gov/legal-library/browse/policy-statement-federal-trade-
        commission-education-technology-childrens-online-privacy-protection ..................................8
3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  v
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
         Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 7 of 22




1                                     INTEREST OF AMICUS CURIAE

2            The Chamber of Commerce of the United States is the world’s largest business federation.
3     It represents approximately 300,000 direct members and indirectly represents the interests of more
4     than three million companies and professional organizations of every size, in every industry sector,
5     and from every region of the country. An important function of the Chamber is to represent the
6     interests of its members in matters before Congress, the Executive Branch, and the courts. To that
7     end, the Chamber regularly files amicus curiae briefs in cases, like this one, that raise issues of
8     concern to the nation’s business community.
9            The Chamber has a substantial interest in the resolution of this case because it implicates the
10    stability of the Internet economy. Many of the Chamber’s members participate in marketing and
11    advertising products and services over the Internet to the public at large, a group that inherently
12    includes children. The Chamber’s members are thus intimately familiar with and profoundly
13    affected by the regulatory regimes in this area. As such, the Chamber possesses unique insight into
14    the problems that will result if California is permitted to disturb the deliberate approach that
15    Congress struck in regulating the collection of children’s personal information on the Internet.
16           Indeed, the Internet is a thriving ecosystem, but it is also a delicate one. Few aspects are
17    more delicate than children’s privacy. Everyone wants to see children enriched by innovative and
18    educational online services. At the same time, children need to be specially protected from
19    unscrupulous practices. It follows that sound regulation of websites and online services directed to
20    children involves a difficult balancing act—one that balances the desire to protect children against
21    the desire to allow children to fruitfully engage with online content. Reasonable people can always
22    disagree about how exactly the balance should be struck, but all should agree that it needs to be
23    struck, carefully and definitively, at the national level so that all concerned can ascertain the “rules
24    of the road” around the country and can conduct business accordingly.
25           Allowing the California Age-Appropriate Design Code Act (“AB 2273”) to stand would
26    undermine these rules of the road. For decades, businesses have devoted significant time and effort
27    to developing compliance programs for the federal Children’s Online Privacy Protection Act
28    (“COPPA”), a nationwide preemptive children’s privacy standard. California’s law would upend

                                                  1
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
         Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 8 of 22




1     these efforts by instituting an inconsistent and unworkable children’s privacy regime. Because the

2     Internet is not constrained by state boundaries, AB 2273 will cast its onerous compliance shadow

3     across the entire country. This statute is the exact type of law that Congress sought to preempt under

4     the federal standard.

5              The Chamber respectfully submits that its views on the implications of this case shed

6     important light on the correct resolution of the preemption claim presented here. No counsel for a

7     party authored any part of this brief. No entity or person, other than amicus curiae, its members, or

8     its counsel, made any monetary contribution intended to fund the preparation or submission of this

9     brief.

10                                            INTRODUCTION

11             Congress chose to enact a uniform federal scheme for children’s online privacy in COPPA.
12    See Pub. L. No. 105-277, §§ 1301–08, 112 Stat. 2681, 2681-728–35 (1998) (codified at 15 U.S.C.
13    §§ 6501–06). Congress’s decisions were deliberate and borne of legislative compromise. Congress
14    did not subject to heightened regulation any website that happened to be accessed by a child, but
15    only those websites that are directed to children or that knowingly collect personal information from
16    children. Congress likewise chose to regulate online practices related to children under the age of
17    13 after carefully considering using other ages as the cutoff. And rather than regulating through
18    rigid technical requirements, Congress instead empowered parents through a flexible notice and
19    consent regime, fleshed out through Federal Trade Commission (“FTC”) regulation and industry-
20    driven safe harbors.
21             Congress chose to protect these detailed choices with an express preemption provision.
22    Congress recognized that a patchwork of 50 state children’s privacy laws would render its statutory
23    scheme unworkable and create profound difficulties within the Internet economy. It thus provided:
24    “No State or local government may impose any liability for commercial activities or actions by
25    operators in interstate or foreign commerce in connection with an activity or action described in this
26    chapter that is inconsistent with the treatment of those activities or actions under this section.” 15
27    U.S.C. § 6502(d). The plain text of this provision prohibits States from regulating children’s privacy
28    differently than COPPA. That commonsense reading is confirmed by COPPA’s statutory structure

                                                  2
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
           Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 9 of 22




1     and legislative history, which establish that States are limited to enforcing federal children’s online

2     privacy standards, rather than promulgating their own. Indeed, any contrary reading would render

3     ineffective COPPA’s safe harbor scheme.

4             California’s Age-Appropriate Design Code Act (“AB 2273”) runs afoul of COPPA’s

5     express preemption scheme by imposing liability for activities where COPPA does not. It adopts a

6     new threshold standard—“likely to be accessed”—that by its own terms imposes liability for online

7     practices related to children’s privacy that would not trigger liability under COPPA. It imposes

8     liability on practices related to minors over the age of 13, despite Congress’s intentional choice not

9     to impose liability for such practices. And it adopts numerous compliance obligations that impose

10    liability where COPPA does not. Because these provisions are expressly preempted and are not

11    severable from the rest of the statute, this Court should hold that AB 2273 is preempted in its

12    entirety.

13                                               ARGUMENT

14    I.      CONGRESS EXPRESSLY PREEMPTED STATE LAWS THAT REGULATE CHILDREN’S
              PRIVACY DIFFERENTLY THAN COPPA.
15
              Under the Constitution’s Supremacy Clause, federal law “shall be the supreme Law of the
16
      Land,” the “Laws of Any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. Thus,
17
      “Congress may displace state law through express preemption provisions.”                  Aylward v.
18
      SelectHealth, Inc., 35 F.4th 673, 680 (9th Cir. 2022) (citations and quotations omitted). Where “a
19
      federal statute includes an express preemption provision, the task of statutory construction must in
20
      the first instance focus on the plain wording of the clause.” Nat’l R.R. Passenger Corp. v. Su, 41
21
      F.4th 1147, 1152 (9th Cir. 2022) (citations and quotations omitted). “[T]he surrounding statutory
22
      framework” and “Congress’s stated purposes in enacting the statute” may also inform “whether the
23
      state law at issue falls within the scope of the preemption clause.” Id. at 1152–53 (citations and
24
      quotations omitted).
25
              COPPA’s express preemption clause directly addresses California’s attempt to regulate
26
      children’s online privacy. It provides: “No State or local government may impose any liability for
27
      commercial activities or actions by operators in interstate or foreign commerce in connection with
28

                                                  3
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 10 of 22




1     an activity or action described in this chapter that is inconsistent with the treatment of those activities

2     or actions under this section.” 15 U.S.C. § 6502(d).

3             The plain language of the clause establishes an expansive preemptive effect. States are

4     prohibited from “impos[ing] any liability” on “activities or actions” if (1) those activities or actions

5     are “in connection with an activity or action described” by COPPA, and (2) the imposition of

6     liability is “inconsistent with the treatment of those activities or actions under” COPPA. See id.

7     (emphasis added); accord Atay v. Cnty. of Maui, 842 F.3d 688, 701 (9th Cir. 2016) (distilling text

8     of preemption provision into constituent elements). In other words, state law may not regulate

9     children’s privacy differently than COPPA. The sweeping nature of this “plain wording” “contains

10    the best evidence of Congress’ pre-emptive intent.” CSX Transp., Inc. v. Easterwood, 507 U.S. 658,

11    664 (1993).

12            The legislative context confirms this reading of the unambiguous text. Although the initial

13    bill did not include an express preemption clause, see S. 2326, 105th Cong. (1998), it was added

14    after regulated parties argued that it was “crucial that the legislation include language to ensure that

15    the Federal standard created [by COPPA] will provide uniform treatment and will prohibit States

16    from imposing liability under an inconsistent standard.” S. 2326, Children’s Online Privacy

17    Protection Act of 1998: Hearing Before the Subcomm. on Commerce, Sci., and Transp., 105th Cong.

18    22 (1998) (“Senate Hearing”) (statement of Jill Lesser, Director, Law and Public Policy, Assistant

19    General Counsel, America Online, Inc.). Congress thus instructed the FTC, at that agency’s urging,

20    to promulgate regulations that set forth “uniform privacy protections.” Id. at 12 (prepared statement

21    of FTC Chairman Robert Pitofsky) (emphasis added); accord 15 U.S.C. § 6502(b), (d).

22            This understanding of the express preemption clause is further reinforced by the statutory

23    structure. Consider first COPPA’s treatment of the FTC, as compared to the States. Congress vested

24    the FTC with both rulemaking authority to flesh out the requirements of COPPA’s regulatory

25    scheme, 15 U.S.C. § 6502(b), as well as enforcement authority, id. § 6502(c). Congress also

26    expressly provided that “[n]othing . . . in [COPPA] shall be construed to limit the authority of the

27    Commission under any other provisions of law.” Id. § 6505(e). Taken together, Congress

28

                                                  4
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 11 of 22




1     authorized the FTC to take the lead in both shaping and enforcing federal children’s privacy rules,

2     and expressly preserved its existing authority.

3            By contrast, Congress defined a role for the States in regulating children’s online privacy

4     that was sharply limited to enforcement. States may bring civil actions to enforce “regulation[s] of

5     the Commission,” id § 6504(a)(1) (emphasis added), but lack the authority to promulgate their own

6     regulations or polices. Further, the FTC may intervene in any state enforcement suit, id. § 6504(b),

7     thus ensuring federal supervision even for States’ limited enforcement role.         In addition to

8     preempting “inconsistent” state laws, id. § 6502(d), Congress preserved only a defined set of state

9     enforcement powers: “conduct[ing] investigations,” “administer[ing] oaths or affirmations,” and

10    “compel[ling] the attendance of witnesses or the production of documentary and other evidence,”

11    id. § 6504(c). COPPA’s preemption clause thus makes express what is already contemplated by the

12    statutory scheme: the FTC may make and enforce rules, and the States may only enforce them.

13           The legislative history confirms that Congress intended for the States to act only in an

14    enforcement role. As the bill’s sponsor, Senator Richard Bryan (D-NV), explained, “[t]he FTC

15    must come up with [children’s privacy] rules” to effectuate Congress’s intent, while “[t]he bill

16    permits States’ attorneys general to enforce the act.” 144 Cong. Rec. S8483 (July 17, 1998)

17    (emphases added). Indeed, the express preemption clause was added to make clear that “State

18    Attorneys General may enforce violations of the FTC’s rules,” but “state and local governments

19    may not [] impose liability for activities or actions covered by [COPPA] if such requirements would

20    be inconsistent with the requirements under [COPPA] or Commission regulations implementing

21    [COPPA].” 144 Cong. Rec. S11658 (Oct. 7, 1998) (statement of Sen. Bryan). These bifurcated

22    regulatory and enforcement roles “were worked out carefully with the participation of the marketing

23    and online industries, the Federal Trade Commission, privacy groups,” and other stakeholders. Id.

24    at S11657.

25           Indeed, Congress spoke clearly when it wanted to allow other entities to shape children’s

26    privacy rules. Under COPPA’s safe harbor provision, “representatives of the marketing or online

27    industries” or “other persons” may promulgate “self-regulatory guidelines,” compliance with which

28    “satisf[ies] the requirements of regulations issued under” COPPA. 15 U.S.C. § 6503(a), (b)(2). The

                                                  5
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 12 of 22




1     FTC may “approve[]” these guidelines though “notice and comment,” and the FTC’s approval or

2     disapproval is subject to judicial review. Id. § 6503(b), (c). This scheme confirms Congress’s intent

3     to carefully define the entities responsible for crafting children’s privacy rules and to subject those

4     entities’ rules to FTC oversight.

5            If States were instead permitted to promulgate their own children’s privacy rules, it would

6     render ineffective this safe harbor framework. Congress required the FTC to “provide incentives

7     for” complying with approved guidelines, and those “incentives shall include provisions for

8     ensuring that a person will be deemed to be in compliance with the requirements of the regulations

9     under” COPPA “if that person complies with [approved] guidelines.” Id. § 6503(b)(1), (2). But if

10    States could layer on new and different children’s privacy requirements, there would be little

11    incentive for businesses to voluntarily comply with an FTC-approved safe harbor because being

12    “deemed to be in compliance” with COPPA would mean little in a world with 50 different children’s

13    privacy laws. Indeed, Congress added the express preemption clause in response to concerns that

14    the “safe harbors could prove ineffective if companies find themselves subject to a myriad of

15    inconsistent State laws relating to children’s privacy online.” Senate Hearing, 105th Cong. 21–22

16    (statement of Jill Lesser). Because different state children’s privacy requirements would “thwart

17    enforcement of [COPPA] and undermine its purpose,” Arellano v. Clark Cnty. Collection Serv.,

18    LLC, 875 F.3d 1213, 1218 (9th Cir. 2017), such differing laws are expressly preempted.

19           Congress’s uniform children’s privacy scheme is consistent with its overarching policy of

20    subjecting the Internet’s rules of the road to federal control. When Congress enacted COPPA in

21    1998, it was well aware that “[t]he Internet” “requires a cohesive national scheme of regulation so

22    that users are reasonably able to determine their obligations.” Am. Librs. Ass’n v. Pataki, 969 F.

23    Supp. 160, 182 (S.D.N.Y. 1997). Because the Internet “requir[es] national regulation,” ACLU v.

24    Johnson, 194 F.3d 1149, 1162 (10th Cir. 1999), Congress preempted all children’s privacy

25    regulations that are inconsistent with COPPA.        In the words of the preemption clause, any

26    inconsistent law “in connection with” children’s privacy must give way to protect Congress’s

27    deliberate choices, including both where it did—and did not—choose to “impose any liability.” See

28    15 U.S.C. § 6502(d). This overarching federal policy confirms that COPPA’s preemption clause

                                                  6
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 13 of 22




1     means what it says: States may not impose children’s online privacy regimes that differ from the

2     federal standard.

3            Caselaw confirms that States may not regulate children’s privacy differently than COPPA.

4     In New Mexico ex rel. Balderas v. Tiny Lab Productions, 457 F. Supp. 3d 1103 (D.N.M. 2020), the

5     District of New Mexico found that a plaintiff’s “state law claims [we]re preempted by the plain

6     language of COPPA” where the state law would have allowed the plaintiff to state a claim for

7     collecting children’s information without “actual knowledge” of collection. Id. at 1120–21. Noting

8     that COPPA requires “an actual knowledge standard,” the court held that the state law claims were

9     preempted because “COPPA preempts state law that treats like conduct differently.” Id. Similarly,

10    in H.K. through Farwell v. Google LLC, 595 F. Supp. 3d 702 (C.D. Ill. 2022), a court found that an

11    Illinois law was “preempted by COPPA” where the Illinois law “and COPPA ha[d], at minimum,

12    different notice and data retention requirements.” Id. at 709–11.

13           The Ninth Circuit, in Jones v. Google LLC, 56 F.4th 735 (9th Cir. 2022), recently reaffirmed

14    that “contradictory state law requirements, or requirements that stand as obstacles to federal

15    objectives” are “inconsistent” with, and thus preempted by, COPPA. Id. at 740 (en banc petition

16    pending). Although Jones did not find preempted “state-law causes of action that are parallel to,

17    or proscribe the same conduct forbidden by, COPPA,” id. at 741 (emphasis added); but see Hubbard

18    v. Google LLC, 508 F. Supp. 3d 623, 629–32 (N.D. Cal. 2020) (Freeman, J.); H.K. through Farwell,

19    595 F. Supp. at 709–11; Manigault-Johnson v. Google, LLC, No. 18-cv-1032, 2019 WL 3006646,

20    at *6 (D.S.C. Mar. 31, 2019), it left no doubt that COPPA preempts laws with “requirements” or

21    “duties” that “differ” from the federal standard, see Jones, 56 F.4th at 740–41 (citations and

22    quotations omitted).

23           Congress’s choices do not prevent the development of new children’s online privacy

24    regulations. Rather, it requires their promulgation at the federal level. Indeed, the FTC has

25    previously amended its COPPA regulations, see Children’s Online Privacy Protection Rule, Final

26    Rule Amendments, 78 Fed. Reg. 3,971 (Jan. 17, 2013), and is considering further changes, see

27    Request for Public Comment on the Federal Trade Commission’s Implementation of the Children’s

28    Online Privacy Protection Rule, Regulatory Review; Request for Public Comment, 84 Fed. Reg.

                                                  7
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 14 of 22




1     35,842 (July 25, 2019); Notice, FTC Seeks Additional Public Comment on Advertising to Kids in

2     Digital      Media     (Aug.    23,    2022),    https://downloads.regulations.gov/FTC-2022-0054-

3     0001/content.pdf; accord Ariel Fox Johnson, 13 Going On 30: An Exploration of Expanding

4     COPPA’s Privacy Protections To Everyone, 44 Seton Hall Legis. J. 419, 428 (2020) (“One of

5     COPPA’s biggest benefits is the Commission’s rulemaking authority, which allows COPPA to stay

6     up to date via APA-style rulemaking[.]”). Just last year, the FTC released a policy statement

7     interpreting the COPPA Rule in the context of education technology. See Policy Statement of the

8     Federal Trade Commission on Education Technology and the Children’s Online Privacy Protection

9     Act (May 19, 2022), https://www.ftc.gov/legal-library/browse/policy-statement-federal-trade-

10    commission-education-technology-childrens-online-privacy-protection.          And the FTC has

11    approved six COPPA safe harbor programs.              See COPPA Safe Harbor Program, FTC,

12    https://www.ftc.gov/enforcement/coppa-safe-harbor-program (last visited Feb. 24, 2023).

13              The FTC also does not hesitate to enforce the federal rules. See, e.g., FTC, Press Release,

14    FTC Takes Action Against Company Formerly Known as Weight Watchers for Illegally Collecting

15    Kids’ Sensitive Health Data (Mar. 4, 2022), https://www.ftc.gov/news-events/news/press-

16     releases/2022/03/ftc-takes-action-against-company-formerly-known-weight-watchers-illegally-

17    collecting-kids-sensitive (“The settlement order requires WW International and Kurbo to delete

18    personal information illegally collected from children under 13, destroy any algorithms derived

19    from the data, and pay a $1.5 million penalty.”). In addition, the FTC uses its general unfair-and-

20    deceptive authority to regulate privacy practices not covered by COPPA’s children-specific rules.

21    See, e.g., Children’s Privacy, FTC, https://www.ftc.gov/business-guidance/privacy-security (last

22    visited Feb. 24, 2023); Petition for Rulemaking of the Center for Digital Democracy, Fairplay, et

23    al., Request for Comment, 87 Fed. Reg. 74,056 (Dec. 2, 2022) (considering rules for minors under

24    unfair-and-deceptive authority).

25              Congress may also change children’s online privacy protections. Indeed, there is a pending

26    bill in the current Congress to amend COPPA by creating a right to deletion. See S. 395, 118th

27    Cong. (2023). Other recent bills have proposed modifying COPPA’s parental notice provision as

28    applied to a child’s school. See H.R. 6056, § 201(a), 117th Cong. (2021); H.R. 5630, 117th Cong.

                                                  8
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 15 of 22




1     (2021). Others, like the KIDS Act, would increase regulation around certain advertising practices.

2     See H.R. 5439, 117th Cong. (2021); S. 2918, 117th Cong. (2021). And others still—like the Kids

3     Online Safety Act and the Children and Teens’ Online Privacy Protection Act—have proposed

4     significant overhauls that would adopt some requirements similar to those contemplated by

5     California’s law. See S. 3663, 117th Cong. (2022); S. 1628, 117th Cong. (2021). Ultimately, even

6     if the adoption of new children’s online privacy standards is warranted, the State may not proceed

7     without going through the appropriate federal forum.

8                                                 *     *       *

9            In sum, Congress deliberately and expressly chose to preempt all state regulation of

10    children’s online privacy that differs from the COPPA standard. The law’s approach to children’s

11    privacy regulation may evolve, but only through Congress, the FTC, or the agency’s safe harbor

12    program.

13    II.    COPPA EXPRESSLY PREEMPTS AB 2273 BECAUSE AB 2273 IS INCONSISTENT WITH
             COPPA.
14
             A.     AB 2273’s “Likely-To-Be-Accessed” Standard Is Inconsistent With COPPA.
15
             In COPPA, Congress chose to regulate “website[s] or online service[s] directed to children,”
16
      15 U.S.C. § 6501(10)(A), and operators with “actual knowledge that [they are] collecting personal
17
      information from a child,” id. § 6502(a)(1). Congress exempted websites and services that “solely”
18
      “refer[] or link[] to a commercial website or online service directed to children by using information
19
      location tools, including a directory, index, reference, pointer, or hypertext link.” Id. § 6501(10)(B).
20
      Through rulemaking, the FTC has also identified considerations for “determining whether” a service
21
      or website “is directed to children.” 16 C.F.R. § 312.2. This rule exempts websites or services that,
22
      inter alia, “[p]revent[] the collection, use or disclosure of personal information from visitors who
23
      identify themselves as under age 13 without first complying with [COPPA’s] notice and parental
24
      consent provisions.” Id.
25
             Congress’s “directed to children” standard was deliberate. COPPA initially defined this
26
      term using a multifactor test, comprised of vague indicators, such as a website’s “tone,” “message,”
27
      or other undefined “characteristic.” See S. 2326, 105th Cong. § 2(11). That draft also did not
28

                                                  9
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 16 of 22




1     provide for exemptions from its definition. See id. Through careful legislative compromise,

2     however, Congress replaced this approach with COPPA’s current statutory standard.

3            AB 2273, by contrast, adopts a “likely to be accessed by children” standard, Cal. Civ. Code

4     § 1798.99.30(b)(4), that uses a vague, multifactor test like the one Congress considered and rejected.

5     This standard is fatally at odds with COPPA. Indeed, AB 2273 expressly declares as its purpose to

6     regulate “not only” “online products and services specifically directed at children,”—i.e., the

7     COPPA standard—but “all online products and services [children] are likely to access.” Id.

8     § 1798.99.29 (emphasis added). Consistent with that intent, the statutory definition of “likely to be

9     accessed by children” expressly sweeps broader than COPPA. To determine whether content is

10    “likely to be accessed by children”—and thus subject to AB 2273—California uses a confusing set

11    of six indicators, including that “[t]he online service, product, or feature is directed to children as

12    defined by [COPPA].” Id. § 1798.99.30(b)(4)(A). But because there are five other indicators, see

13    id. § 1798.99.30(b)(4)(B)–(F), AB 2273 deliberately regulates activity that would not trigger

14    COPPA’s standard.      For example, if “evidence” indicates that a service is “accessed by a

15    significant”—but undefined—“number of children,” id. § 1798.99.30(b)(4)(B), it can fall within

16    AB 2273’s scope, even if that access is incidental, rather than as a result of being “directed” or

17    “targeted” to children, 15 U.S.C. § 6501(10)(A). Further, AB 2273 does not include the express

18    carveouts in COPPA for websites and services that solely link to other websites and services, 15

19    U.S.C. § 6501(10)(B), or that ensure compliance with COPPA’s parental consent requirements for

20    users who identify themselves as under age 13, 16 C.F.R. § 312.2.

21           AB 2273’s contradictory standard falls squarely within the scope of COPPA’s express

22    preemption provision. Practices related to children’s privacy permitted under COPPA’s statutory

23    standard may trigger liability under AB 2273’s standard. As a result, AB 2273 is designed to

24    “impose” “liability” for activities and actions “in connection with” children’s privacy in a way “that

25    is inconsistent with the treatment of those activities or actions under” COPPA. 15 U.S.C. § 6502(d).

26    This threshold standard is thus expressly preempted.

27

28

                                                 10
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 17 of 22




1            B.     AB 2273’s Age Trigger Is Inconsistent With COPPA.

2            COPPA regulates the privacy of “individual[s] under the age of 13.” 15 U.S.C. § 6501(1).

3     The “age of 13” cutoff was no idle choice. Congress initially proposed regulating the privacy of

4     “individual[s] under the age of 16.” S. 2326, 105th Cong. § 2(1) (emphasis added). But legislators

5     raised questions about whether “the legislation should cover kids over 13,” noting that perhaps “a

6     16-year-old should be able to inquire about religion, politics, or products without being constrained

7     by a notification requirement.” Senate Hearing, 105th Cong. 13 (statement of Sen. Burns); see id.

8     at 16 (statement of Sen. Bryan) (same). Stakeholders likewise advocated that “any legislation in

9     this area should be limited to children under 13,” flagging issues with “restricting the ability of teens

10    to access important information.” Id. at 21 (statement of Jill Lesser). Congress ultimately agreed

11    and—though careful legislative compromise—declined to regulate the privacy of individuals age

12    13 and older. Although some have since proposed regulating individuals over the age of 13, see,

13    e.g., S. 1628, 117th Cong. § 3(a)(5) (2022), those efforts have not carried the day.

14           AB 2273 is inconsistent with Congress’s deliberate choice to limit children-specific privacy

15    regulation to individuals under age 13. AB 2273 regulates the privacy of all individuals “who are

16    under 18 years of age.” Cal. Civ. Code § 1798.99.30(b)(1). AB 2273 thus “impose[s]” “liability”

17    for online activities related to the privacy of minors ages 13 through 17, which “is inconsistent with

18    the treatment of those activities or actions under” COPPA. 15 U.S.C. § 6502(d). Because of this

19    inconsistency, AB 2273’s imposition of liability for online activities related to the privacy of

20    individuals age 13 and older is expressly preempted. See Fraley v. Facebook, Inc., 966 F. Supp. 2d

21    939, 948 (N.D. Cal. 2013) (Seeborg, J.) (“Because COPPA expressly preempts state requirements

22    that are inconsistent . . . it could bar any efforts by plaintiffs to use state law to impose a parental

23    consent requirement for minors over the age of 13.” (cleaned up)), aff’d sub nom. Fraley v. Batman,

24    638 F. App’x 594 (9th Cir. 2016).

25           It is no answer to claim that COPPA’s preemptive reach does not extend to teenagers because

26    they “fall outside the statute’s scope.” Contra Amicus Br. of FTC at 8, Fraley v. Batman, No. 13-

27    16819 (9th Cir. Mar. 20, 2014). COPPA preempts regulating not only “an activity or action

28    described” in COPPA but all matters “in connection with” those activities or actions. 15 U.S.C.

                                                 11
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 18 of 22




1     § 6502(d) (emphasis added). As the Supreme Court has “often recognized,” the phrase “‘in

2     connection with’” typically “bear[s] a ‘broad interpretation.’” Mont v. United States, 139 S. Ct.

3     1826, 1832 (2019) (collecting cases). While online practices related to teenagers’ privacy were

4     deliberately excluded from children-specific regulation, compare S. 2326, 105th Cong. § 2(1), with

5     15 U.S.C. § 6501(1), those practices are plainly “connect[ed] with” COPPA’s regulation of minors’

6     privacy. A contrary reading would undermine Congress’s goal of uniform children’s privacy rules,

7     see supra Section I, and would not respect “Congress’ choice to employ the more capacious phrase

8     ‘in connection with.’” Mont, 139 S. Ct. at 1833.

9            C.     AB 2273’s Compliance Obligations Are Inconsistent With COPPA.

10           COPPA’s regulatory centerpiece is “parental consent.” 144 Cong. Rec. S11657 (Oct. 7,

11    1998) (statement of Sen. Bryan).        Congress’s overarching goal was to “enhance parental

12    involvement in a child’s online activities.” Id. COPPA’s drafters recognized that legislation was

13    “not” “the total end of what [Congress was] trying to do,” Senate Hearing, 105th Cong. 13

14    (statement of Sen. Burns), but rather a means to “empower the parents,” who would “exercise some

15    judgment and some discretion about” their kids’ online activities, id. at 13–14 (statement of FTC

16    Chairman Pitofsky). As a result, COPPA is light on prescriptive requirements and instead relies on

17    parental consent as its touchstone. See 15 U.S.C. § 6502(b); 16 C.F.R. §§ 312.4–312.6.

18           In stark contrast to this approach, AB 2273 imposes a litany of rigid compliance obligations

19    that require different conduct than COPPA’s flexible, parental consent-based regime. These include

20    requirements to complete and maintain a Data Protection Impact Assessment for any online service,

21    product, or feature likely to be accessed by children, Cal. Civ. Code § 1798.99.31(a)(1), (3), (4); to

22    mitigate any risk to children arising from data management practices, id. § 1798.99.31(a)(2); to

23    estimate the age of child users “with a reasonable level of certainty” and employ appropriate

24    corresponding data management practices, id. § 1798.99.31(a)(5); to offer a “high level of privacy”

25    by default, absent a “compelling reason,” id. § 1798.99.31(a)(6); to publish and enforce “privacy

26    information, terms of service, policies, and community standards,” id. § 1798.99.31(a)(7), (9); to

27    provide an “obvious signal” when a child is being monitored or tracked, id. § 1798.99.31(a)(8); and

28    to provide “tools” to exercise privacy rights, id. § 1798.99.31(a)(10).

                                                 12
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 19 of 22




1            In addition to these affirmative requirements, AB 2273 imposes prohibitions that outlaw

2     conduct that is legal under COPPA. Under these prohibitions, among others, regulated entities may

3     not “[p]rofile a child by default” absent certain exceptions, id. § 1798.99.31(b)(2); use a child’s

4     personal information for certain purposes, absent a “compelling reason,” id. § 1798.99.31(b)(3), (4),

5     (8); and collect any precise geolocation information, unless it is “strictly necessary” or without

6     providing an “obvious sign” while collecting, id. § 1798.99.31(b)(5), (6).

7            These compliance obligations are inconsistent with COPPA. For example, if a business, in

8     California’s opinion, does not estimate the age of its users with sufficient “certainty,” id.

9     § 1798.99.31(a)(5), or fails to employ adequate “community standards,” id. § 1798.99.31(a)(9), it

10    may be held liable under AB 2273. But because these obligations do not appear in COPPA, a

11    business would not be held liable under the federal standard. Thus, if businesses engage in COPPA-

12    compliant online practices that run afoul of AB 2273’s differing compliance obligations, AB 2273

13    will “impose” “liability” for those activities, which is—by definition—“inconsistent with the

14    treatment of those activities or actions under” COPPA. 15 U.S.C. § 6502(d). These requirements

15    are thus expressly preempted by COPPA.

16           This commonsense conclusion is buttressed by the statutory structure and legislative history.

17    Consider, for example, AB 2273’s ban on collecting “precise geolocation information” unless it is

18    “strictly necessary,” regardless of parental consent. Cal. Civ. Code § 1798.99.31(b)(5). Under this

19    provision, it is unclear if or how a teenager could use his geolocation data to call a ride service app

20    or track his running routes. That result is exactly what Congress sought to avoid. COPPA sought

21    to “accomplish[]” its “goals in a manner that preserves the interactivity of children’s experience on

22    the Internet and preserves children’s access to information in this rich and valuable medium.” 144

23    Cong. Rec. S11657 (Oct. 7, 1998) (statement of Sen. Bryan). That is why COPPA forewent rigid

24    prohibitions and instead incorporated parental notice and consent as its touchstone.

25           AB 2273 undermines Congress’s goal of a flexible, parental consent-based regime by

26    imposing rigid compliance obligations. While some state legislators may wish that COPPA or the

27    FTC imposed more or different requirements related to children’s online privacy, the solution is not

28

                                                 13
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 20 of 22




1     to create state-specific obligations and liabilities that conflict with the specific and deliberate

2     balance taken by federal law. Rather, the proper forum for these changes is through Congress.

3     III.   AB 2273 IS PREEMPTED IN ITS ENTIRETY BECAUSE ITS INCONSISTENT PROVISIONS ARE
             NOT SEVERABLE.
4
             Severability is a question of state law. Qwest Commc’ns Inc. v. City of Berkeley, 433 F.3d
5
      1253, 1259 (9th Cir. 2006), overruled on other grounds by Sprint Telephony PCS, L.P. v. Cnty. of
6
      San Diego, 543 F.3d 571 (9th Cir. 2008). Under California law, an “invalid part” of a statute “can
7
      be severed if, and only if, it is grammatically, functionally, and volitionally separable.” Jevne v.
8
      Superior Ct., 35 Cal. 4th 935, 960 (2005) (citations and quotations omitted); see Garcia v. City of
9
      Los Angeles, 11 F.4th 1113, 1120 (9th Cir. 2021). A provision “is grammatically separable if it is
10
      distinct and separate and, hence, can be removed as a whole without affecting the wording of any
11
      of the measure’s other provisions.” Jevne, 35 Cal. 4th at 960–61 (citations and quotations omitted).
12
      “It is functionally separable if it is not necessary to the measure’s operation and purpose.” Id. at
13
      961 (citations and quotations omitted). Finally, “it is volitionally separable if it was not of critical
14
      importance to the measure’s enactment.” Id. (citations and quotations omitted).
15
             The preempted provisions of AB 2273 are not severable because they are not functionally
16
      or volitionally separable. Here, AB 2273’s threshold scoping terms—“child” and “likely to be
17
      accessed by children”—are preempted. See supra section II.A, B. Without these terms, the statute
18
      simply makes no sense. The entire point of the statute is for “children” to “be afforded protections”
19
      by regulating “services they are likely to access.” Cal. Civ. Code § 1798.99.29 (emphasis added).
20
      These foundational terms are plainly “necessary to the [law]’s operation and purpose.” Hotel Emps.
21
      & Rest. Emps. Int’l Union v. Davis, 21 Cal.4th 585, 613 (1999) (citations omitted). In addition, it
22
      would strain credulity to suggest that the California legislature “would have separately considered
23
      and adopted [the rest of the statute] in the absence” of these key scoping terms that go to the statute’s
24
      very purpose. See Acosta v. City of Costa Mesa, 718 F.3d 800, 818 (9th Cir. 2013) (cleaned up).
25
             The analysis is the same for the remaining provisions. Virtually every substantive obligation
26
      imposed by AB 2273 regulates the use of children’s data differently than COPPA and is thus
27
      preempted. See supra section II.C. Absent those obligations, all that would remain of AB 2273 is
28
      a declaration of purpose, a handful of definitions, and a working group. That is not a statute but a
                                                       14
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 21 of 22




1     legislative carcass. To the extent this Court finds these provisions preempted only as to children

2     under age 13—though it should not—the preempted provisions would still not be grammatically,

3     functionally, or volitionally separable. The statute would not be grammatically separable because

4     the age threshold—“under 18 years of age,” Cal. Civ. Code § 1798.99.30(b)(1)—is written such

5     that it “cannot be cured by excising any word or group of words.” Santa Barbara Sch. Dist. v.

6     Superior Ct., 13 Cal. 3d 315, 330–31 (1975). And if AB 2273 applied only to individuals age 13

7     and older, it would create a situation where data practices for older children were subject to more

8     state scrutiny than data practices for younger children. Such an outcome would be irrational and fly

9     in the face of the statute’s declaration that “children of all ages” should be covered by the law. AB

10    2273 § 1(a)(7) (emphasis added). In sum, because the remaining provisions “are not functionally

11    or volitionally separable,” AB 2273 “as a whole [is] preempted.” Jevne, 35 Cal. 4th at 962.

12                                             CONCLUSION

13           For the foregoing reasons, this Court should hold that AB 2273 is expressly preempted by
14    COPPA.
15         Dated: February 24, 2023                   Respectfully Submitted,
16                                                    /s/ Robert E. Dunn
                                                      Robert E. Dunn (Bar No. 275600)
17                                                    EIMER STAHL LLP
18                                                    99 S. Almaden Blvd, Suite 600
                                                      San Jose, CA 95113
19                                                    408.889.1690
                                                      rdunn@EimerStahl.com
20
                                                      Megan L. Brown (pro hac vice pending)
21                                                    Kathleen E. Scott (pro hac vice pending)
22                                                    Boyd Garriott (pro hac vice pending)
                                                      WILEY REIN LLP
23                                                    2050 M St NW
                                                      Washington, DC 20036
24                                                    202.719.7000
                                                      mbrown@wiley.law
25                                                    kscott@wiley.law
26                                                    bgarriott@wiley.law

27                                                    Attorneys for Amicus Curiae,
                                                      Chamber of Commerce of the United States
28                                                    of America

                                                 15
     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
        Case 5:22-cv-08861-BLF Document 33-1 Filed 02/24/23 Page 22 of 22




1
                                     CERTIFICATE OF SERVICE
2
            I HEREBY CERTIFY that on February 24, 2023, I electronically filed the foregoing with
3
      the Clerk of Court by using the CM/ECF system, which will send notice of electronic filing to all
4

5     counsel of record.

6

7                                                          /s/ Robert E. Dunn
                                                           Robert E. Dunn
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Amicus Brief of the Chamber of Commerce, Case No. 5:22-cv-08861-BLF
